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Case 2:05-Cr-2023§1\IJD§1ED@1QWWM §@AFLL§O| SZQI$§QIBCTP§%%§LTOT 2 ag
FOR THE WEsTERN DISTRICT oF TENNESSEE

 

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ORDER CONTINUING A.RRAIGNMENT AN`D
SPECIFYING PERIOD OF EXCLUDABLE DELAY UN'DER THE SPEEDY TRIAL ACT

 

The Defendant’s counsel has notified the Court that in the
interests of justice that this matter he continued. Pursuant to
the Speedy Trial Act, as set in 18 U.S.C. §3161(h}(8)(A),
defendant's period of excludable delay may be granted if the ends
of justice are served.

The Arraignment is therefore continued and reset to Wednesday,

July 20, 2005. at 9:30 a.m. in Courtroom §5¢ 3rd Floor, Federal

Building, 167 N. Main Street, Memphis, Tennessee.

 

It is therefore ORDERED that the time period of July 13l 2005
through, July 19c 2005 be excluded from the time its imposed.by the
Speedy Trial Act for trial of this case, due to the interests of
justice.

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This aig day of July, 2005.

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Diane K. Vescovo
UNITED STATES MAGISTRATE JUDGE

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UNITED sTATE D"ISIC COURT - WESTERN D's'TRCT oFTENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 16 in
case 2:05-CR-20236 Was distributed by faX, mail, or direct printing on
July 14, 2005 to the parties listed.

 

 

Eric Scott Hall
WAGERMAN LAW FIRM
200 Jefferson Ave.

Ste. 13 13

Memphis7 TN 38103

David Charles Henry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

